                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                           DOCKET NO. 3:15-cr-00299-MOC-DCK

 UNITED STATES OF AMERICA,                    )
                                              )
                                              )
                                              )
 Vs.                                          )                     ORDER
                                              )
 TOMAS BARAJAS-RODRIGUEZ,                     )
                                              )
                  Defendant.                  )



          THIS MATTER is before the court on the government’s Motion to Dismiss. Having

considered the government’s motion and reviewed the pleadings, the court enters the following

Order.

                                         ORDER

          IT IS, THEREFORE, ORDERED that the government’s Motion to Dismiss (#90) is

GRANTED, and this defendant is DISMISSED WITHOUT PREJUDICE from this criminal

action.




 Signed: September 22, 2016




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